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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                 SHREVEPORT DIVISION


  JAMES M. WHEAT and DANNY
  BRINSON, individually and on behalf of all
  other persons similarly situated,                     Case No. 5:17-cv-424-SMH-MLH
                                                        (Class Action)
         Plaintiffs,
                                                        Judge Hicks
         v.
                                                        Magistrate Judge Hornsby
  MIKE CRAIG, JEFF R. THOMPSON,
  JEFF COX, E. CHARLES JACOBS, MIKE
  NERREN, and PARKER SELF in their
  official capacities as Judges of the 26th
  Judicial District Court; and JULIAN C.
  WHITTINGTON, in his official capacity as
  Sheriff of Bossier Parish,

         Defendants.




                                  SETTLEMENT AGREEMENT

         The Parties have worked together since the filing of this lawsuit to resolve the case. The

  parties agree to the following, and the parties jointly move the Court to enter a consent order

  requiring them to abide by their agreement.


              1)   The Plaintiffs agree to dismiss the lawsuit with prejudice subject to the Court

                   retaining jurisdiction to enforce the Settlement Agreement and the terms of the

                   Consent Judgment. Plaintiffs waive all attorneys’ fees. Defendants Craig,

                   Thompson, Cox, Jacobs, Nerren, and Self shall reimburse Plaintiffs one half of

                   the $400 filing fee paid to lodge the Complaint in this action.
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           2)   The Defendants agree to the following:


                  a.   The Defendant Judges’ en banc order of April 11, 2017, rescinding their

                  previous en banc order of August 18, 2015, and ceasing the practice of

                  requiring payment of the $40 Public Defender application fee under La. R.S. §

                  15:175 prior to a defendant’s release on bail—attached herein as Ex. 1—shall

                  remain in place. The Defendant Judges shall not enter any order requiring pre-

                  payment of this fee as a condition of release.


                  b.   After arrest, all misdemeanor arrestees—except those expressly listed

                  below—will be released on their own recognizance after the completion of

                  standard booking procedures. An additional exception may be made for those

                  who appear to be impaired by alcohol or another substance upon booking, in

                  which case an arrestee may be held for up to twelve hours to ensure his or her

                  safety. The following list may be amended as required by law.


                          i. Aggravated Assault, § 14:37;

                         ii. Simple Battery, § 14:35;

                        iii. Battery on a Police Officer, § 14:34.2;

                         iv. Battery of a school teacher, § 14:34.3;

                         v. Battery of a school or recreation athletic contest official, § 14:34.4;

                         vi. Battery of a correction facility employee, § 14:34.5;

                        vii. Battery of a bus operator, § 14:34.5.1;



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                      viii. Battery of emergency room personnel, emergency service

                            personnel, or a healthcare professional, § 14:34.8;

                        ix. Battery of a child welfare or adult protective service worker, §

                            14:35.1;

                        x. Simple battery of persons with infirmities, § 14:35.2;

                        xi. Misdemeanor Sexual Battery, § 14:43.1.1

                       xii. Violation of Protective Orders, § 14:79

                      xiii. Operating a Vehicle While Intoxicated, first offense, §§

                            14:98(D)(1), 98.1;

                      xiv. Operating a Vehicle While Intoxicated, second offense,

                            §§14:98(D)(2), 98.2;

                       xv. Hit and Run Driving, § 14:100;

                      xvi. Resisting an Officer, § 14:108;

                      xvii. Flight from an Officer, § 14:108.1;

                     xviii. Illegal Carrying of Weapons, § 14:95

                      xix. Driving Under Suspension, § 32:415; and

                       xx. Speeding over 100 m.p.h., § 32:61


                 c. In cases involving the misdemeanor offenses of Domestic Abuse Battery,

                 La. R.S. § 14:35.3, or Stalking, La. R.S. § 14:40.2, the court retains discretion

                 to operate the pretrial detention procedures set forth in La. Code of Criminal

                 Procedure article 313.




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                 d. Those arrested for the offenses listed in paragraph 2(b)(i)–(xx), will be

                 provided with an individualized bail determination within twenty-four (24)

                 hours of arrest whenever practicable but in no event later than seventy-two

                 (72) hours after their arrest.


                 e. Those arrested pursuant to a warrant that also set their amount of bail shall

                 be brought before a judge for individualized bail determination within twenty-

                 four (24) hours of arrest whenever practicable but in no event later than

                 seventy-two (72) hours after their arrest.


                 f. The bail review hearings referenced in paragraphs (d) and (e) will meet the

                 requirements of the due process and equal protection clauses of the Fourteenth

                 Amendment, and no misdemeanor arrestee will be kept in jail on the basis of a

                 secured money bond that they cannot afford.


                 g. The judges shall continue their practice of holding 72-hour hearings and

                 initial bail settings in open court.


                                     Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

   I certify that a copy of the foregoing was filed using the Court’s CM/ECF filing system, which
                         will provide electronic notice to all counsel of record.

                                      s/ Eric Foley
                                      Eric Foley




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                                                                        EXHIBIT
                                                                            1
